Case 3:04-cv-00251-HSO-ASH   Document 857-24     Filed 09/03/19    Page 1 of 6




           Olivia Y., Jamison J., et al. V. Phil
              Bryant, Donald Taylor, et al.

                                Jess Dickinson
                               November 29, 2018




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Case 3:04-cv-00251-HSO-ASH    Document 857-24    Filed 09/03/19   Page 2 of 6

                                                                         Page 59
                         Jess Dickinson 11/29/2018


      1    cut -- I had the -- "opportunity" is not the word

      2    I would have chosen.        I had the obligation.           I had

      3    the obligation to bring the budget into line.                  I

      4    had to do that.

      5          Q.     And so you chose to eliminate the

      6    caseload requirement; is that right?

      7          A.     No.

      8                 MR. JONES:     I object to the form of the

      9          question.

     10          Q.     (By Ms. Lowry)     You didn't?

     11          A.     And I apologize.        I'm not trying to be

     12    difficult.     I don't see those two things as

     13    related.

     14                 What I chose to do was to -- was to

     15    implement policy that would bring the budget in

     16    line.

     17          Q.     And was that an obligation that was

     18    greater than the obligation to comply with a

     19    Federal Court order?

     20            A.   The Federal Court order doesn't tell me

     21    how much to cut or not cut with respect to

     22    salaries.

     23                 In other words, I never -- I never made

     24    any decision we're not going to comply with the

     25    court order.       I made the decision of here's how




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Case 3:04-cv-00251-HSO-ASH      Document 857-24   Filed 09/03/19    Page 3 of 6
  Case 3:04-cv-00251-TSL-FKB Document 847-2 Filed 06/20/19 Page 87 of 190

                                                                        Page 140
                             Jess Dickinson 11/29/2018



       1           A.    Yes.

       2           Q.    Okay.     You did not agree to the second

       3    MSA, did you?

       4           A.    You mean did I sign it?

       5           Q.    Yes.

       6           A.    Was I one of the signatories?             No, I was

       7    not.

       8           Q.    You weren't involved in the discussions,

       9    and you certainly didn't sign it; is that right?

      10           A.    That's correct.

      11           Q.    And you didn't sign any of the interim

      12    or stipulated orders; is that right?

      13           A.    That's correct.

      14           Q.    And, in fact, you might not have even

      15    done that had you been present in this agency; is

      16    that right?

      17           A.    That's a possibility.

      18           Q.   Right.      In fact --

      19           A.   If I knew then what I know now, I

      20    wouldn't have.

      21           Q.   Right, in fact, you don't like the --

      22    what you call the rigid fixed standards of the

      23    caseload limits, do you?

      24           A.   Well, I don't like the phrase, "I don't

      25    like them."      I think they're harmful to children.




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Case 3:04-cv-00251-HSO-ASH    Document 857-24    Filed 09/03/19   Page 4 of 6
  Case 3:04-cv-00251-TSL-FKB Document 847-2 Filed 06/20/19 Page 88 of 190

                                                                       Page 141
                             Jess Dickinson 11/29/2018



        1          Q.    I see.    And do you think that 15 years

        2   of noncompliance in this case is harmful to

        3   children?

        4                MR. JONES:     Object to the form.

        5                THE WITNESS:     Do I think that 15 years

        6          of noncompliance is harmful to children?

        7         Q.     (By Ms. Lowry)      Yeah.   Do you know how old

        8   this litigation is?

        9         A.     I can't answer that question without

      10    more specifics.       I need to know what it is you

      11    think was harmful to children, and I can either

      12    agree with you or not, but when you say 15 years

      13    of noncompliance is harmful to children, that's a

      14    very general statement.

      15          Q.    Do you know that the State has

      16    acknowledged noncompliance with regard to the

      17    settlement agreement?

      18          A.    I do understand what you're asking me.

      19    I'm just -- I am not going to get to the place

      20    where I agree with you that noncompliance with one

      21    provision or another provision of that MSA, per

      22    se, translates into harm to children.            I think

      23    compliance with the MSA in some respects is

      24    harmful to children, so your question is too

      25    general for me.




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Case 3:04-cv-00251-HSO-ASH    Document 857-24    Filed 09/03/19   Page 5 of 6
  Case 3:04-cv-00251-TSL-FKB Document 847-2 Filed 06/20/19 Page 89 of 190

                                                                       Page 142
                             Jess Dickinson 11/29/2018



        1                If you ask me about a specific thing, I

        2   can tell you my opinion of whether it's harmful to

        3   children or not.

        4          Q.    You, in fact, would like this provision

        5   changed, wouldn't you, because it seems too rigid

        6   and fixed as your counsel called it; is that

        7   right?

        8         A.     The reason I would like it changed is

        9   because I believe it's harmful to children.

       10         Q.     Okay.   So -- and you would -- what would

       11   you substitute for it?

       12         A.     I would substitute it for a standard

      13    that takes into account the factors that affect

      14    the handling of children's cases and the outcomes

      15    for those children.       I would look to see if the

      16    children are having good outcomes, and I would

      17    look to see if the caseworkers are doing their

      18    jobs, and there are factors that are indicators of

      19    that, and, to me, that's what an agency should be

      20    judged on.

      21          Q.    So, basically, what you're saying in the

      22    motion that's been filed on your behalf with

      23    regard to changing a provision of this agreement

      24    is that you think it's harmful to children, and

      25    you don't like it; is that right?




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Case 3:04-cv-00251-HSO-ASH     Document 857-24   Filed 09/03/19   Page 6 of 6
  Case 3:04-cv-00251-TSL-FKB Document 847-2 Filed 06/20/19 Page 90 of 190

                                                                      Page 143
                             Jess Dickinson 11/29/2018



        1                MR. JONES:     I object to --

        2                THE WITNESS:     I don't like anything

        3          that's harmful to children.

        4                MR. JONES:     And I object to the form of

       5           the question.     That's not what the motion

        6         states.

       7                 MS. LOWRY:     No, that's not, but I can

       8          ask the question anyway.

       9          Q.     (By Ms. Lowry)      Okay.    But you think this

      10    is harmful to children?

      11          A.     I think that the agency being judged

      12    it's effectiveness being judged on a hard

      13    compliance cap in the way that a cap has to be

      14    implemented in a child welfare agency is harmful

      15    to children.      It is harmful to the care for

      16    children.

      17          Q.    And so you wouldn't have signed it?             You

      18    wouldn't have signed that provision of the

      19    agreement, is that --

      20          A.    I would not have agreed -- and, again,

      21    knowing what I know today, knowing what I know

      22    sitting here today, no, ma'am, I would not have

      23    agreed for the State to obligate itself in order

      24    to comply with the second MSA.           I would not have

      25    agreed that the State be judged by a hard cap like




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